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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

FUTUREFUEL CHEMICAL COMPANY                                                               PLAINTIFF

V                             Case   No.   1: 1   1,CV,00061'SWW

LONZA, INC                                                                           DEFENDANT


                        MEMORANDUM BRIEF IN SUPPORT OF
                           FFCC's RESPONSE TO LONZA'S
                                                       S'


       FutureFuel Chemical Company (FFCC), by its attorneys Barber, McCaskill, Jones &'

                                                                                         for
Hale, p.4., submits the following in response to Lonza Inc.'s (hereinafter Lonza) Motion

Attorneys' Fees and Costs.

                                                                                      of
       FFCC filed a Complaint against Lonza seeking recovery under theories of breach

                                                                                   Lonza denied
contract, breach of implied conffact and detrimental reliance/promissory estoppel.

that a conrract was formed berween the parties or that it had any obligation to FFCC'
                                                                                      Lonza


filed a Motion for Summary Judgment on all counts alleged in the Compliant. The
                                                                                Court


granted Summary Judgment on all counts and dismissed FFCC's Complaint in its entirety'
                                                                                       FFCC

                                                                              seeking reversal of
has this date filed a Notice of Appeal ro [he Eighth Circuit Court of Appeals

this Court's Order granting Summary Judgment'

        Lonzacires Ark. Code Ann ,   ç   16.22-308 as rhe basis for its right to recovery of altorneys'

fees. In a diversity action, the Court must look to state law to determine whether attorneys'
                                                                                              fees


are recoverable' Ark. Code Ann.       $    16'22'308 provides   in part that under limited     defined


circumstances the prevailing party "may be" allowed a reasonable attorneys' fee.

               The legislature's use of the word, "may", indicates that             the
               legislature intended a court's award of attorney's fees pursuant to    $
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                16-27-308 to be permissive and discretionary with the court rather
                than mandatory. See Gregory tt, Coluin, 235 Ark, 1007, 363
                S.\ø.zd 539 (19ó3). ... \Øhen coupled with the well-settled
                historical observation that attorney's fees were not recoverable at
                common law, See Aþeska [Pipe\ine Co. u, Wildemess Society, 42t
                U,S.240, 247,44 L. Ed. Zdl4l,95 S. Ct. 1612 (1974)1, Arkansas'
                rules of statutory construction mandate that $ 16.22.308 be strictly
                construed. See, Williams u, Americmt Broadcating Comþaties, Inc',
                                                         ;
                96 F.R.D. 658 (\ø.D. Ark. 1983) Hartford Ins, Grouþ v, Cdrter,
                2 5 1 Ark. 680, 47 3 S.\7. 2d 9 18 ( 197 1) .



Reliance Insurdnce Co,   e. Tobi Engineering lnc., 735 F. Supp. 376, 328 (\ø.D' Ark. 1990)' That

courr declined to award arrorneys' fees to a prevailing plaintiff which asserted claims for

negligence, breach of contract and breach of warranty, in part because the contract at issue did

not contain a provision for the award of attorneys' fees and because the plaintiff did not prevail

on all theories advanced. Id. See Wilkinsc/, U,S, BankNat'l.Ass'n, 2OO8 U.S. Dist' LEXIS 119355

(\y.D.Ark. March 21,2008) where rhe court               exercised its discretion and denied an award of

                                                                                judgment
at[orneys' fees to a defendant which prevailed on summary judgment, the summary

order was appealed to the Eighth Circuit and then the appeal was dropped.

       FFCC urges the Court to exercise its discretion and deny an award of attorneys' fees in

                                                                                               for
this case. Attorneys' fees are awardable in breach of contract cases in part to avoid the need

unnecessary litigation on a matter which should be cut and              dried. In the instant   case Lonza

                                                                                       the
argued and the Court determined on Summary Judgment that there was no contract between

parties, This expected contest over whether a conffact had been formed was the basis for FFCC's

inclusion of claims for implied contract and promissory estoppel/detrimental reliance' Attorneys'

fees are   not recoverable to the prevailing party on implied contract or detrimental reliance claims

in Arkansas.     Friend's of Chitdren, Inc'   v'   Mdrcus,   46 Ark' App' 57' 63' 876 S'\Ø'zd 603 (1994)

("But the implied,in,law contract, or quasi,contract, is indeed no contract at a11...\ü/e conclude


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that there was no authority for an award of attorneys' fees in this            case.")   ;   Westside Galuonizmg


Sen,lces, Inc, c), Georgia-Pacific     Corþ,,921F,2d735,740 (8th Cir. 1990).

        The Arkansas Court of Appeals reversed an award of attorneys' fees where the plaintiff

sued under fraud and breach of contract and the trial court granted summary judgment (an

equivalent procedural posture in the present case) and awarded attorneys' fees ro the defendant.

                   However, we do not think it is sufficient to base a fee award under
                   ç 16-22-308 upon a fînding that a contract claim is a "substantial
                   issue." Where both contract and tort claims are advanced, an
                   award of attorneys' fees to the prevailing party is proper only when
                   the action is primarily based in contract. See Wheeler Motor Co',
                   Inc, u, Roth,315 Ark. 318, 86? S.\ø.zd 446 (1993); Securitl Pacific
                    House. Serulces, Inc' q,t, Friddle,315 Ark' 178, 866 S'\ø'2d 375
                    (1993) ; Stein u. Luka,3O8 Ark. 74, 823 S'\ø' 2d 832 (1992);
                   Kinkead v, IJnion Nat'L Bank, 51 Ark. App' 4, 907 S'\ø' 2d 154
                   (rees).

Meyr    ,¿,   Riuerdale Harbor Mtmiciþa| Proþ, Owners Irnprouement Dist'        No'   l, 58 Ark.    App' 91, 93'

 g47 S.W .Zð,20     (lgg7). In     each of those cired cases the appellate court concluded that an award


of attorneys' fees was improper at all because the matter was not based primarily in contract'
                                                                                               See


                                                                                   (7003)
also N¿tlonsbanc Morryage Corþ, nt, Hoþkins, 82 Ark. App. 91, 105, 114 S.\ø.3d 757

 ("However, an award of attorneys' fees under section 16-72-308 is proper only when the action                 is



based primarily      in contract   ,   Reed qt, Smith Sceel,   77 Ark. App. 110, ?8 S.\ø.3d 118 (2002)' We

do not view this case as one that is primarily based in contract; its true nature is an action for

violation of a stature and possibly negligence."). FFCC claimed Lonza made it a promise, though

 a Letter of Intent, but also through multiple discussions and emails, to purchase a quantity of

 DEM on which FFCC relied in construction a $1.5 million DEM production facility, and Lonza

 did not perform. FFCC's reliance on this conduct by Lonza and whether it was justifiable and
                                                                                                  may
 actionable is at the heart of the claim in this case and is a theory under which attorneys' fees


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not be recovered. To the extent the holding in the present case stands that there was no

contract between FFCC and Lonza, this is a proper case for exercise of discretion in denying

attorneys' fees as the Court has not found the claims in this case to be those which could support

an award of attorneys' fees.

       In the event that the Court is inclined not to outright deny Lonza's request for attorneys'

fees and costs, FFCC would urge the Court         to defer its ruling on the Motion until the Eighth

Circuir rules on FFCC's appeal of the Court's Order granting Summary Judgment or to deny the

Motion without prejudice for re.filing after the appeal has been resolved. These approaches          are


contemplated under Rule 54 pursuant          to   Nores   of   Advisory Committee   on 1993 anendtnents'

"If an appeal on the merits of the case is taken, the court may rule on the claim for fees, may

defer its ruling on the motion, or may deny the motion without prejudice, directing under

subdivision (d)(Z)(B) a new period for filing after the appeal has been resolved." "The
                                                                                        Court


believes    that the most caurious and judicially efficient approach in this case is to             deny


Defendant's motion without prejudice pending the outcome of the appeal in this matter."
                                                                                        Rlggs l'''



vatley ForgeIns, Co.,   2O1O   U,S. Dist. LEXIS 6t586 at
                                                                 *8 (\ø.D. Ark. June 1,2010) .    Accord


Matsumurau, BenihonaNat, Corþ,, 06 CIV. 76009 (NRB), 2010 \ø.L. 1783552 (S'D' NY April

 23,7OlO);Ta-¡credio¿.Metro,LifeIns,co,,378F.3d2ZO,725'26                (2^dCir.7004);Ldsicu'Moreno,

2:05-CV-O161.MCE-DAD, 2OO7 W.L. 4180655 (8.D. Cal. November 21,2007) (and cases cited

therein)   ; Apeldyn Corþ, v, AU   Optromonics Corþ,,    CIV. OB-568-SLR, ZOl2W,L, 1578470 (D' DeL

May 3, Z0l2). FFCC urges that approach in this case.

           To the extent the Court rejects FFCC's arguments and elects to make an award of

 attorneys' fees, FFCC argues      in the alternative that even Lonza      recognizes that   it cannot be

entitled to its full attorneys' fees incurred in this case since the Court found no contract existed

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and FFCC sought recovery under claims of implied contract and promissory estoppel/detrimental

reliance for which recovery of attorneys' fees by the prevailing party is not permitted. Lonza thus

suggests   irs recovery should be reduced by one-third. FFCC argues such a reduction is not

satisfactory, Under applicable law, no recovery should be permitted at all or the tecovery should

be much more significantly reduced. "Nothing in that statute [Ark. Code Ann. $ 16'22-308],

nor in $ 4-88.113(f), provides that a parry is entitled to an award of all fees in          cases where

                                                                                       S'\ø'
multiple claims have been pursued." FMC Corp ,,Inc. v, Hehon,368 Ark. 465, 488'89, 202

3ð,4g0 (ZOO5). The Arkansas Supreme Court in FMC v, Hehon concluded that the
                                                                             trial court

abused its discretion     in awarding   appellees   all of the attorneys' fees sought where only one of

their causes of action provided for such an award. Likewise in the present case             it would be

contrary to Arkansas law to award Lonza all, or even lwo thirds of the fees         it incurred   since the

                                                                                                and
court found there      was no contract and the case was pursued on theories of implied contract

detrimental reliance/promissory estoppel which do not permit attorney fee
                                                                          recovery' Given the

Court,s finding that no contract was formed in the present case and the fact
                                                                             that the case was

pursued and defended on multiple theories, Lonza should not be permitted                  to recover its

 attorneys' fees or,    in rhe alternative, such claim      should be reduced to one-third of otherwise

                                                     rwas one of three pursued and defended'
 recoverable fees since the breach of contract claim

           A review of the bills submirted by Lonzareflect that it    is seeking recovery based on hourly


 rates   of 5295   for its lead counsel Janeen   olsen Dougherty and $315 to $325 for Arkansas counsel

 Charles Schlumberger. FFCC contends rhese rates are higher than rates for which
                                                                                 recovery


 should be been permitred under circumstances of this case and thus should be
                                                                              reduced. FFCC

 urges thar rhe rates of    Mr. Schlumburger should at the very least be reduced to the rate charged

                                                                                case having any
 by Ms. Dougherry who functioned as lead counsel throughout all portions of the

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bearing on the Court's granting of Summary Judgment.

          Many of the legal activities for which Lonza seeks discovery recovery are not described in

sufficient detail to allow the Court to determine whether recovery is proper.

                      Further, in the billing records, numefous entries are claimed for
                      attorney conferences in which the reasons for the conferences were
                      not described, The billing statements contained hundreds of
                      entries for "telephone conference with," "confer with," "prepare
                      correspondence to," "review correspondence from" and "confer
                      with" but did nor lisr the subject of the correspondence or the
                      conference. Without having information explaining the nature of
                      the correspondence and conferences, these entries are deemed
                      unreasonable.

Shula   q,).   Bdnk   of America,zOlo U.S. Dist. LEXIS 11634 at *3 (E.D. Ark. January 22, 2010).     See


also Rellanc e Ins. Co,, suþrd,735 F, Supp. 3?.6,32g, where the court noted that      it could not award

                                                                                  performed but
attorneys' fees where some billing statements listed dates on which services were

nor rhe actual time expended on each item and others listed hours expended per month but
                                                                                         did


not describe services performed. In the present case, as reflected by Exhibit              A to FFCC's

Response, many            of   Lonza's billing entries do   not provide the Court the details   required


concerning the subject marrer of the activity in order to permit recovery. FFCC would thus
                                                                                           urge


                                                                                             not
that Lonza not be allowed to recover for activities highlighted on Exhibit A on the basis of

providing suffïcient information in which ro determine the reasonableness of the charges. This

                                                                                            for
would include approximately 91.8 hours ar the hourly rate of $295.00 for a total of $27,081

attorney conferences, telephone conferences, correspondence and emails for which no subject

matter, reason or basis was provided Further, FFCC would submit that the Court deny recovery

 for two attorneys onbehalf of Lonzato attend a deposition and hearing          "   5 hours at the rate of


 $325.00 an hour for a total of $1,625.00 for the second attorney to attend
                                                                            the deposition of

 Slaton Fry and .8 hours ar rhe rate of $325.00 an hour for a total of $260.00 for the second

                                                        6
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artorney ro attend a hearing on behalf of Lonza. "Although it might have been of great benefìt to

defendant to have both lead counsel and second chair counsel attend plaintiffs deposition, it

would be unreasonable to require plaintiff to reimburse defendant for the fees and expense
                                                                        *5 (E.D. Ark. January
incurred by borh." Shulau, Bank of Arnenca,20lO U.S. Dist. LEXIS 11634,

zz,20rc).

         Lonza seeks recovery for costs including deposition transcripts ($5,952.70) and copy

charges ($155.72). Such should not be recoverable. See BEB Hardware,Inc. v. Fastenal
                                                                                     Co,,


(E.D. Ark. December 14, ?.011) ("This Courr, following the general practice of this district,

likewise has derermined that cosrs incurred        in   copying documents       to be produced during

discovery are not taxable as costs under $ 1920.')      ;   Coorstek,Inc. u, ElectricMelting Services Co',

Inc,,ZOO9 U.S. Dist. LEXIS Zzg34,
                                        *4-5 (8.D. Ark. March 10,2009) ("Although it is within the

court's discretion to tax the costs of taking depositions,       it is this Court's policy to disallow the

costs    for taking depositions and any fees associated therewith for                discovery purposes'

                                                                                        for trial'");
Accordingly, all discovery cosrs will be disallowed as incidental to normal preparation

SwúeltExþlorationCo.    qt. Srephens   ProductionCo,,32O Ark. 298, 896 S.\7.2d 867 (1995) (Where

the court denied recovery for deposition costs because same were not authorized by statute)'

          Lonza seeks recovery   for attorneys' fees for activities performed after summary judgment

pleadings were   filed. Lonzashould not be permitted to recover for        costs and fees unnecessary for


consideration of rhe summary judgment filings on which the Court's Order is based. See
                                                                                       Felrs             c''



 Nat'l   Accowtr Sysrems Ass'n,, 83 F.R.D. 112    (N.D. Miss. 1979); Gochls v A\lstate Ins, Co',       L67


FRD Z4B (I9g5); AranburuotBoeingCo,,lggg U.S. Dist. LEXIS 10477 (D. Kan. 1999),
                                                                                In these

cases    the issue was the propriety of awarding costs to defendants who prevailed on summary

judgment and the courrs declined to award costs for deposition transcripts and the like which

                                                    7
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\¡/ere   not essential for the court's consideration of summary iudgment. That analysis should

likewise be applied to decline to award any fees or costs subsequent to the filing of summary

judgment pleadings in the present case which closed on July 2.,70t2 as not essential for the

development of the issues on which the Court's Summary Judgment was based.

          Lonzahas not established its entitlement to recovery of fees and costs. Alternatively, the

Court should defer its ruling or dismiss without prejudice Lonza's Motion for Attorneys' Fees and

Costs pending resolution of the appeal on the merits to the Eighth Circuit Court of Appeals of

the Order granting of Summary Judgment. Alternatively, Lonza's attorneys' fees and costs

recoverable should be reduced      to those   reasonably incurred and described for prevailing on

summary judgment for the contract claim only. FFCC would submit that invoices submitted by

Lonza reflect approximarely 255.8 hours       of atrorney time for which the activity is described
                                                                                               per
through date of filing of Lonza's summary judgment reply, one third of which at a rate of $250

hour would result in fees of $21,295.35.



                                                Respectfully submitted,

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       I, Gail Ponder Gaines, do hereby certifi/ that a copy of the foregoing pleading has   been
duly emailed and mailed to counsel of record on this 9'h day of October ,2012:

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                                                     /s/ Gail Ponder Gaines
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